                  Case 4:12-cr-00186-DPM                       Document 417          Filed 06/09/15          Page 1 of 5
 A0245D       (Rev. 09/11) Judgment in a Cnminal Case for Revocations                                                         FILED
                                                                                                                         US DISTRICT COURT
              Sheet 1                                                                                                EASTERN DISTRICT AR  ,~.



                                      UNITED STATES DISTRICT COURT JAMES
                                                          Eastern District of Arkansas                      By:
                                                                                                                        eJ{A
                                                                                                                          JUN - 9 2015
                                                                                                                          ~          ACK, CLERK
                                                                                                                                        . - -...

          UNITED STATES OF AMERICA                                       Judgment in a Criminal Case
                                                                                                                                     y'   DEP CLERK


                     v.                                                  (For Revocation of Probation or Supervised Release)
                Mark Aaron Zane Pruitt

                                                                         Case No. 4:12-cr-186-DPM-4
                                                                         USM No. 27121-009
                                                                          Christophe Tarver
                                                                                                 Defendant's Attorney
 THE DEFENDANT:
 ~ admitted guilt to violation of condition(s)          General, Standard 7,             of the term of supervision.*
 D   was found in violation of condition(s)            - - - - - - - - - - a f t e r denial of guilt.
 The defendant is adjudicated guilty of these violations:

 Violation Number                                           Nature of Violation                                   Violation Ended
 1&2                             Tested positive for amphetamine, methamphetamine,

                                 and morphine                                                                 05/19/2015

 3                               Failed to submit monthly reports for January, March, and

                                 April of 2015                                                                04/01/2015
        The defendant is sentenced as provided in pages 2 through _ _5_ _ of this judgment. The sentence is imposed pursuant to
 the Sentencing Reform Act of 1984.
 D   The defendant has not violated condition(s) - - - - - - - a n d is discharged as to such violation(s) condition.

           It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
 change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
 fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes m
 economic circumstances.

 Last Four Digits of Defendant's Soc. Sec. No.: 9735                      06/08/2015
                                                                                             Date of Imposition of Judgment
 Defendant's YearofBirth:            1990

 City and State of Defendant's Residence:                                                          Signatu& of Judge
 Cabot, Arkansas
                                                                          D.P. Marshall Jr.                             U.S. District Judge
                                                                                                Name and Title of Judge


                                                                                                          Date




*Standard 2, and Special 1.
               Case 4:12-cr-00186-DPM                        Document 417   Filed 06/09/15       Page 2 of 5
AO 2450   (Rev. 09/11) Judgment in a Criminal Case for Revocations
          Sheet IA

                                                                                        Judgment-Page   _ ....
                                                                                                          2_ of        5
DEFENDANT: Mark Aaron Zane Pruitt
CASE NUMBER: 4: 12-cr-186-DPM-4

                                                     ADDITIONAL VIOLATIONS

                                                                                                               Violation
Violation Number              Na tu re of Violation                                                            Concluded
4                              Discharged from a residential drug-treatment program and failed                 05/07/2015

                               to submit a urine specimen
                       Case 4:12-cr-00186-DPM                    Document 417      Filed 06/09/15          Page 3 of 5
  AO 245D       (Rev 09/11) Judgment in a Cnminal Case for Revocations
                Sheet 2- Imprisonment
                                                                                                 Judgment - Page     3      of   5
  DEFENDANT: Mark Aaron Zane Pruitt
  CASE NUMBER: 4:12-cr-186-DPM-4


                                                                  IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
  term of:
twelve months and one day




     t/ The court makes the following recommendations to the Bureau of Prisons:
The Court recommends that Pruitt participate in a drug-treatment program and in vocational and educational programs. The
Court further recommends designation to the closest available facility to Central Arkansas to faciliate family visitation.


     t/ The defendant is remanded to the custody of the United States Marshal.
     D The defendant shall surrender to the United States Marshal for this district:
            D     at                                                D p.m.    on
            D     as notified by the United States Marshal.

     D      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
            D     before 2 p.m. on
            D     as notified by the United States Marshal.
            D     as notified by the Probation or Pretrial Services Office.

                                                                         RETURN

  I have executed this judgment as follows:




            Defendant delivered on                                                   to

  at - - - - - - - - - - - - - - with a certified copy of this judgment.




                                                                                             UNITED STATES MARSHAL



                                                                             By - - - - - - - -UNITED
                                                                                        DEPUTY  - - -STATES
                                                                                                      - - -MARSHAL
                                                                                                            --------
                   Case 4:12-cr-00186-DPM                        Document 417      Filed 06/09/15           Page 4 of 5
  AO 245D     (Rev. 09/11) Judgment in a Criminal Case for Revocations
              Sheet 3 - Supervised Release
                                                                                                    Judgment-Page      4    of          5
  DEFENDANT: Mark Aaron Zane Pruitt
  CASE NUMBER: 4:12-cr-186-DPM-4
                                                              SUPERVISED RELEASE

  Upon release from imprisonment, the defendant shall be on supervised release for a term of:
one year



           The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
  from the custody of the Bureau of Prisons.
  The defendant shall not commit another federal, state or local crime.
  The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from an)' unlawful use of a controlled
  substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug
  tests thereafter as determined by the court.
  D     The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
  't{ The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if
  '9/ The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
  D     The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
        or is a student, as directed by the probation officer. (Check, if applicable.)
  D     The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
           If this jud~ent imposes a fine or restitution, it is be a condition of supervised release that the defendant pay in accordance
  with the Schedule of Payments sheet of this judgment.
           The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
  conditions on the attached page.

                                             STANDARD CONDITIONS OF SUPERVISION

  1)        the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)        the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)        the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
            officer;
  4)        the defendant shall support his or her dependents and meet other family responsibilities;
  5)        the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training,
            or other acceptable reasons;
  6)        the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)        the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
            controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)        the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)        the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person
            convicted ofa felony, unless granted permission to do so by the probation officer;
  10)       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
            confiscation of any contraband observed in plain view of the probation officer;
  11)       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
            enforcement officer;
  12)       th~ defendant sh~ll i:iot enter into any agreement to act as an informer or a special agent of a law enforcement agency
            without the perm1ss1on of the court; and
  13)       as directed by the probation officer, the defendant shall notify third parties ofrisks that may be occasioned by the
            defendant's criminal record or personal history or characteristics and shall permit the probation officer to make such
            notifications and to confirm the defendant's compliance with such notification requirement.
                 Case 4:12-cr-00186-DPM                       Document 417   Filed 06/09/15   Page 5 of 5
 AO 2450    (Rev. 09/11) Judgment in a Cnminal Case for Revocations
            Sheet 3C - Supervised Release

                                                                                        Judgment-Page   5     of      5
 DEFENDANT: Mark Aaron Zane Pruitt
 CASE NUMBER: 4: 12-cr-186-DPM-4

                                            SPECIAL CONDITIONS OF SUPERVISION

S1) Pruitt shall participate, under the guidance and supervision of the probation office, in a substance-abuse treatment
program that will include regular and random drug testing and that may include residential treatment, outpatient
counseling, or both.
